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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF VERMONT
2021 DEC -9 PM |: 42

 

) CLERK
UNITED STATES OF AMERICA ) :
)
V. ) No.
) -10G-
JOHN GRIFFIN, ) av al-cv - 104-|
Defendant )
INDICTMENT
The Grand Jury charges:
BACKGROUND

At all times relevant to this Indictment:

1. For several years prior to July 2020, the defendant, JOHN GRIFFIN, paid
for and maintained a profile on an internet site known as alt.com. In
2020, alt.com described itself as a “BDSM dating, Fetish, and Kink Site,”
where “members find alternative, BDSM, bondage & fetish partners.”
JOHN GRIFFIN used alt.com to seek women who were, in GRIFFIN’s
words, sexually “submissive” and “open-minded.” JOHN GRIFFIN’s
username, or “handle,” on alt.com was “Admit It.”

2. On several occasions in 2019 and 2020. JOHN GRIFFIN communicated
with persons he encountered on alt.com using other communication
platforms, including Kik and Google Hangouts. JOHN GRIFFIN’s
username, or “handle,” on Kik was “Reflection55”; on Google Hangouts

it was “John Griffin.”
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3. On several occasions in 2020, during chat conversations over Kik and
Google Hangouts, JOHN GRIFFIN stated he believed there is a “wanton
whore” at “the core of any” female, and that “a woman is a woman
regardless of her age.” During these chat conversations, JOHN GRIFFIN
espoused a “way of life” in which women are sexually subservient and
inferior to men. Using Kik and Google Hangouts, JOHN GRIFFIN
sought parents who would allow him to train their minor daughters to be
sexually subservient.

4, On or about February 21, 2020, JOHN GRIFFIN, acting through a
Vermont limited liability company, acquired a ski house located at 126
Grouse Lane in Ludlow, Vermont. JOHN GRIFFIN communicated in
furtherance of the crimes alleged herein while in or near this ski house,
and offered to host mothers and their minor daughters at this location for

purposes of sexual training.
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COUNT ONE

5. Paragraphs 1-4 are realleged and incorporated herein.

6. From on or about April 7, 2020, to on or about April 13, 2020, in the
District of Vermont and elsewhere, the defendant, JOHN GRIFFIN,
using a facility of interstate commerce, knowingly attempted to persuade,
induce, entice and coerce an individual who had not attained the age of
18 years to engage in sexual activity for which any person could be
charged with a criminal offense.

7. In the course of this attempt, JOHN GRIFFIN engaged in text
conversations over Google Hangouts with a person (“PERSON 1”), who
purported to be the father of a 14-year-old daughter. During the
conversations, JOHN GRIFFIN:

a. advised PERSON | that JOHN GRIFFIN had sexually trained girls
as young as 7 years old;

b. advised that PERSON 1’s 14-year-old daughter would be a good
candidate for such training, alongside her mother;

c. proposed that the training would begin via a video chat during
which JOHN GRIFFIN planned to instruct the 14-year-old and her

mother to remove their clothing and touch each other; and
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d. confirmed that JOHN GRIFFIN’s sexual training would eventually
include in-person meetings featuring “spanking” and “cock

worship.”

(18 U.S.C. § 2422(b))
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COUNT TWO

8. Paragraphs 1-4 are realleged and incorporated herein.

9. On about June 12, 2020 and June 13, 2020, in the District of Vermont
and elsewhere, the defendant, JOHN GRIFFIN, using a facility of
interstate commerce, knowingly attempted to persuade, induce, entice
and coerce an individual who had not attained the age of 18 years to
engage in sexual activity for which any person could be charged with a
criminal offense.

10. In the course of this attempt, JOHN GRIFFIN engaged in a text
conversation over Google Hangouts with a person (“PERSON 2”), who
purported to be the mother of a 16-year-old daughter. During this
conversation, JOHN GRIFFIN:

a. sought confirmation that PERSON 2 believed “there is a natural,
wanton whore at the core of ANY female, whether she knows it or
not,” and “a woman is a woman regardless of age;” and

b. proposed to PERSON 2 that she and her 16-year-old daughter take
“‘a little mother-daughter trip” to Vermont where JOHN GRIFFIN
would host them at his Ludlow, Vermont ski house for sexual
training.

(18 U.S.C § 2422(b))
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COUNT THREE

11. Paragraphs 1-4 are realleged and incorporated herein.

12. From on or about June 14, 2020 to on or about July 24, 2020, in the
District of Vermont and elsewhere, the defendant, JOHN GRIFFIN,
using a facility of interstate commerce, knowingly persuaded, induced,
enticed and coerced an individual who had not attained the age of 18
years to engage in sexual activity for which any person could be charged
with a criminal offense, and knowingly attempted to do so.

13. In furtherance of this offense, beginning on or about June 14, 2020,
JOHN GRIFFIN engaged in a text conversation over Kik with a person
(“PERSON 3”) who purported to be the mother of two daughters, then 9
and 13 years of age. During this text conversation, JOHN GRIFFIN’s

statements included:

a. “one of the big lies of this society is that women are delicate
innocent angels and they are in actuality, naturally, the dirtiest

sluts possible, in EVERY metric”;

b. “when handled appropriately, a woman is a woman regardless

of her age”; and

c. “it’s your job, in concert with me, [to] see that [PERSON 3’s

13-year-old daughter] is trained properly.”
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14.Following this conversation over Kik, as well as other text and telephone
communications with PERSON 3, JOHN GRIFFIN used the internet
payment service Venmo to transfer to PERSON 3 approximately $2000
on or about June 24, and approximately $1350 on or about July 13, 2020,
to cover expenses for PERSON 3 and her 9-year-old daughter to fly from
Nevada to Boston.

15.On or about July 15, 2020, JOHN GRIFFIN drove his 2019 Red Tesla
Model X from Ludlow, Vermont to Logan Airport in Boston,
Massachusetts to pick up PERSON 3 and her 9-year-old daughter, and to
bring them to JOHN GRIFFIN’s Ludlow, Vermont ski house, where the

child was directed to engage in and did engage in illegal sexual activity.

(18 U.S.C. § 2422(b))
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FORFEITURE NOTICE
1. Pursuant to Federal Rule of Criminal Procedure 32.2 and Title 18, United

States Code Section 2461, the United States hereby notifies the defendant
that it will seek forfeiture of property, criminally and/or civilly, pursuant
to Title 18, United States Code, Sections 981(a)(1)(C) and 2428 as part
of any sentence imposed.

2. Pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and
2428, if convicted of any offense set forth in this Indictment, the
defendant shall forfeit to the United States:

a. Any property, real or personal, used or intended to be used to
commit or to promote the commission of such offense of which the
defendant is convicted, or any property traceable to such property,
including residences, vehicles, computers, storage media, cameras
and electronic equipment, including electronic equipment taken
from his person or residence by law enforcement officers during
the investigation of these offenses. It also includes any property,
real or personal, constituting or traceable to gross profits of other
proceeds derived from said offenses.

b. The property subject to forfeiture includes, but is not necessarily
limited to, the following:

i. A lot of land with all buildings thereon located
in the Town of Ludlow, County of Windsor,
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State of Vermont, the legal description of which
may be found at Volume 429 at Pages 312-315
of the Ludlow Land Records;

li. The defendant’s ownership interest in
GRIFFSKIS LLC, a Vermont limited liability

corporation which owns the real property
described in subsection i;

ili. A Red Tesla Model X (Ludicrous Mode), VIN #
SYSXCBE40KF 180792;

iv. A 2018 Mercedes Benz GTA, VIN#
WDDYK8AA3JA014527;

v. the computers, computer storage media, devices,
phones, cameras, MicroSD cards, images, and
videos seized from the defendant on or about
September 2, 2020.

3. The United States shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), if any of the
property described above, as a result of any act or omission of the
defendant:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third party;

C. Has been placed beyond the jurisdiction of the court;
d. Has been substantially diminished in value; or
e. Has been commingled with other property which cannot be

divided without difficulty.

(18 U.S.C. §§ 981(a)(1\C) & 2428; 28 U.S.C. § 2461)
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A TRUE BILL

 

FOREPERSON

Di : (MPD)

JONATHAN A. OPHARDT
Acting United States Attorney

Burlington, Vermont
December 9, 2021
